Case 5:17-cv-05042-JLV Document 144 Filed 04/04/19 Page 1 of 24 PagelID #: 1775

UNITED STATES DISTRICT COURT
DISTRICT OF SOUTH DAKOTA
WESTERN DIVISION

 

HOLLI TELFORD personally and as assignee
of the claims of Brenda Burton,

Plaintiffs,
VS.

RON A. BRADEEN, BRADEEN REAL
ESTATE, JEFF STORM, JIM

BULTSMA, JIM ASHMORE,
SOUTHERN HILLS TITLE COMPANY,
MORNINGSIDE PROPERTIES LLP,
HEARTLAND REAL ESTATE, VERYLIS
R. BOYD, WARNER C, BOYD, FALL
RIVER COUNTY SHERIFF ROBERT
EVANS and SA DANE RASMUSSEN, in
their official capacities,

Defendants.

 

Civ. 17-5042

MOTION TO INSPECT
DOCUMENT IN POSSESSION OF
THE CLERK OF COURTS

 

MOTION

Bradeen Defendants, through undersigned counsel, hereby request that counsel for

Defendants and the document examination expert hired by them be permitted access to examine

the “Notice of Appeal” received by the Clerk from Plaintiff on December 20, 2018, and kept in

the possession of the Clerk.

DISCUSSION

Attached as Exhibit 1 to this Motion is the Affidavit of Gregory J. Bernard (“Bernard

Affidavit”) filed with the Eight Circuit Court of Appeals in support of Bradeen Defendants’

Motion to Dismiss Appeal. On December 20, 2018 the Clerk’s office received what purported to

be a copy-stamped copy of a Notice of Appeal which Plaintiff claims was timely delivered to the
Case 5:17-cv-05042-JLV Document 144 Filed 04/04/19 Page 2 of 24 PagelD #: 1776

Clerk for filing. See Exhibit 3 attached to Bernard Affidavit. On December 20, 2018 the Clerk’s
Notice of Electronic Filing stated that the physical version of the purported Notice of Appeal was
retained by the Clerk. See Exhibit 2 attached to Bernard Affidavit. At the direction of the Eighth
Circuit Court of Appeals, this Court has scheduled an April 24, 2019 evidentiary hearing to
determine whether Plaintiff timely filed the Notice of Appeal. Defendant may bring expert
document examiner, Wendy Carlson, to testify at the evidentiary hearing regarding her opinions
of the document in question. However, in order to form opinions, Ms. Carlson must have access
to the document to conduct a non-destructive analysis. Defendants anticipate Ms. Carlson will
arrive in Rapid City early on April 24" in order to review the document before the hearing.

Defendants request that Ms. Carlson and counsel be granted access to the document in
the Clerk’s office at least 2 hours before the 3:00 p.m. hearing on April 24, 2019 to conduct a
non-destructive examination for purposes of forming opinions and offering testimony at the
hearing regarding her conclusions on the nature and quality of the document.

Dated this 4" day of April, 2019.

THOMAS BRAUN BERNARD & BURKE, LLP

By: _/s/ Gregory J. Bernard
GREGORY J. BERNARD
4200 Beach Drive — Suite 1
Rapid City, SD 57702
605-348-7516
Case 5:17-cv-05042-JLV Document 144 Filed 04/04/19 Page 3 of 24 PagelD #: 1777

CERTIFICATE OF SERVICE

I, Gregory J. Bernard, attorney for Defendants Ron Bradeen, Bradeen Real Estate and
Jeff Storm, hereby certify that on the 4" day of April, 2019, I electronically filed Motion to
Inspect Document in Possession of the Clerk of Courts relative to the above-entitled matter,
using the CM/ECF system which will effect service on the following individual:

 

Holli Telford
885 US Highway 385
Oelrichs, SD 57763
Hollietelford.1@gmail.com

 

Gregory H. Wheeler
Mitchell W. O’ Hara
Boyce Law Firm, LLP
PO Box 5015
Sioux Falls, SD 57117-5015
(605) 336-2424
ghwheeler@boycelaw.com
mwohara@boycelaw.com

 

 

 

Gregory J. Erlandson
Bangs McCullen, Butler,
Foye & Simmons, LLP
PO Box 2670
333 West Boulevard, Suite 400
Rapid City, SD 57709
gerlandson@bangsmccullen.com

 

Michael L. Luce
Lynn, Jackson, Shultz
& Lebrun, PC
PO Box 2700
Sioux Falls, SD 57101-2700702
mluce@lynnjackson.com

 

 

 

/s/ Gregory J. Bernard

 

GREGORY J. BERNARD

 
Case 5:17-cv-05042-JLV Document 144 Filed 04/04/19 Page 4 of 24 PagelD #: 1778

UNITED STATES COURT OF APPEALS
FOR THE EIGHTH CIRCUIT

 

HOLLI TELFORD, personally and as 19-1037
assignee of the claims of Brenda
Burton,

Plaintiffs,
VS.

RON A. BRADEEN, BRADEEN AFFIDAVIT OF
REAL ESTATE, JEFF STORM, JIM GREGORY J. BERNARD
BULTSMA, JIM ASHMORE,
SOUTHERN HILLS TITLE
COMPANY, MORNINGSIDE
PROPERTIES LLP, HEARTLAND
REAL ESTATE, VERYLIS R. BOYD,
WARNER C. BOYD, FALL RIVER
COUNTY SHERIFF ROBERT
EVANS AND SA DANE
RASMUSSEN, in their individual
capacities,

Defendants.

 

 

Gregory J. Bernard, being first duly sworn, upon his oath testifies and states
as follows:

l. I am the attorney for Ron Bradeen, Bradeen Real Estate and Jeff
Storm (“hereinafter Bradeen Defendants”) in the above-captioned matter.

2. Plaintiff Holli Telford a/k/a Holli Lundahl is the Plaintiff in at least

two civil lawsuits venued in the Western Division of the United States District
EXHIBIT

  
 

L 1 of 21
Appellate Case: 19-1037 Page: 1 Date Filed: 01/16/2019 Entry ID: 474677
Case 5:17-cv-05042-JLV Document 144 Filed 04/04/19 Page 5 of 24 PagelD #: 1779

Court South Dakota: Civ. 17-5042-JLV (Telford v. Bradeen, et al) and Civ. 17-
5069-LLP (Lundahl v. JP Morgan Chase Bank, et al).

3. Upon information and belief, on December 10, 2018, Plaintiff was
physically present in the federal district court clerk’s office in Rapid City and filed
a Sur-Reply Brief in Civ. 17-5069-LLP (hereinafter “Lundahl case”),

4, Attached hereto as Exhibit | is a true and correct copy of the civil
docket for the Lundahl case printed from Pacer on December 28, 2018.

5, Upon information and belief, it is Plaintiffs practice when she files
documents with the federal district court clerk’s office in Rapid City to request a
“COPY” stamp on a duplicate copy of the filed document (which the Plaintiff
presents) which stamp reads:

COPY
ORIG. FILED
[Date]
Clerk
U.S. District Court
6. No Notice of Appeal was filed in the above captioned case - Civ. 17-
5042-JLV (hereinafter “Telford case”) — on or before the December 12, 2018
deadline for Plaintiff to file.
7, On December 20, 2018, eight days after the deadline, Counsel was
served with “Notice of Appeal” in the Telford case by the CM/ECF system. [Doc.

134].

2 of 21
Appellate Case: 19-1037 Page:2 Date Filed: 01/16/2019 Entry ID: 4746771
Case 5:17-cv-05042-JLV Document 144 Filed 04/04/19 Page 6 of 24 PagelD #: 1780

8. Attached hereto as Exhibit 2 is a true and correct copy of the notice
of electronic filing received by me via email on December 20, 2018.
9. In the body of the “Docket Text” on Exhibit 2, the “Clerk’s Notice”
reads:
The attached document was received by the clerk’s office
on December 20, 2018. This submitted document contains
a stamp dated December 10, 2018. The clerk’s office has no
record of this document being filed on December 10, 2018.
The physical version of this document will be retained
by the clerk’s office in Rapid City.
See Exhibit 2 (emphasis added).
10. Attached as Exhibit 3 is a true and correct copy of the Notice of
Appeal filed by the clerk as Doc. 134.
11. The Notice of Appeal [Doc. 134] bears the clerk’s stamp which

reads:

COPY
ORIG. FILED
DEC 10 2018

Clerk

U.S. District Court

See Exhibit 3.

12. On information and belief, after the December 12, 2018 filing
deadline, Plaintiff sent the document in question [Doc, 134] to the clerk and
represented that it was a “COPY”-stamped copy of the Notice of Appeal which

Plaintiff claimed to have delivered to the clerk for filing on December 10, 2018.

3
3 of 21

Appellate Case: 19-1037 Page:3 Date Filed: 01/16/2019 Entry ID: 4746771
Case 5:17-cv-05042-JLV Document 144 Filed 04/04/19 Page 7 of 24 PagelD #: 1781

13. On December 21, 2018, I went to the clerk’s office in Rapid City,
South Dakota and was permitted to examine the original Notice of Appeal
document which is electronically filed as Doc. 134.

14, An examination of the clerk’s “COPY” stamp on the document in
question suggests that the stamp is not original to that document.

15. It appears that the clerk’s stamp was removed or copied from some
other source or document and affixed to Doc. 134 to make it appear that the
document in question had been “COP Y”— stamped by the clerk on December 10,
2018.

16, Given that the clerk has no record of the original Notice of Appeal
being filed on December 10, 2018, and given that the “COPY” stamp on the
document provided to the clerk on December 20" does not appear to be original to
that document, it appears Plaintiff did not timely deliver the Notice of Appeal to
the clerk for filing on or before the December 12, 2018 deadline.

Dated this Me day of January, 2019.

Gregory J. Bernard

4 of 21
Appellate Case: 19-1037 Page:4 Date Filed: 01/16/2019 Entry ID: 4746771
Case 5:17-cv-05042-JLV Document 144 Filed 04/04/19 Page 8 of 24 PagelD #: 1782

| _ |e"
Subscribed and sworn to before me this day of January, 2019.

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tary Public /Soutlt Dakota

 

 

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SOF So) ae “et Mareh 24, 2022

My Commission Expires:

 

5 of 21
Appellate Case: 19-1037 Page:5 Date Filed: 01/16/2019 Entry ID: 4746771
Case 5:17-cv-05042-JLV Document 144 Filed 04/04/19 Page 9 of 24 PagelD #: 1783
South Dakota District Court Version 1.1 LIVE DATABASE Page | of 13

PROSE_NOTICE

US. District Court
District of South Dakota (Western Division)
CIVIL DOCKET FOR CASE #: 5:17-cv-05069-LLP

Lundahl et al v. JP Morgan Chase Bank et al Date Filed: 09/06/2017
Assigned to: U.S. District Judge Lawrence L. Piersol Jury Demand: Plaintiff
Demand: $9,999,000 Nature of Suit: 470 Other Statutes:
Cause: 18:1961 Racketeering (RICO) Act Racketeer Influenced and Corrupt
Organizations
Jurisdiction: Federal Question
Plaintiff
Logan Lundabl represented by Logan Lundahl
885 US Hwy 385
Olerichs, SD 57765
(605) 340-0772
Email: logan.lundahl.1@gmail.com
PRO SE
Plaintiff
Holli Lundahl represented by Holli Lundahl
P.O. Box 105
Hot Springs, SD 57747
(605) 340-0772
Email: hollilundahl@gmail.com
PRO SE
V.
Defendant
JP Morgan Chase Bank
Defendant
Michele M Christiansen
In her official capacity
TERMINATED, 08/02/2018
Defendant
Mary Corporon
TERMINATED. 08/02/2018
Defendant
Old Republic Insurance Co. represented by Mark W. Haigh
Evans Haigh & Hinton LLP

Ex. 6 of 21
https: AqnfstldtasGasts. JObOBBin/DiaBet fl769 MotO45 ld 05 OIG/20L9 Entry ID: 47467 74/28/2018
Case 5:17-cv-05042-JLV Document 144 Filed 04/04/19 Page 10 of 24 PagelD #: 1784

South Dakota District Court Version 1.1 LIVE DATABASE

Defendant
Mel Hoffman

Defendant

Los Angeles Homeowners Aid

Defendant

Travis O'Gorman

In his official capacity
TERMINATED: 08/02/2018
Defendant

Derek Weimer

In his official capacity
TERMINATED: 08/02/2018
Defendant

Carol Stouffer

In her official capacity
TERMINATED: 08/02/2018
Defendant

Frankie Moore

In her official capacity
TERMINATED. 08/02/2018
Defendant

Lilia Chavarin

Page 2 of 13

101 North Main Avenue, Suite 213
PO Box 2790

Sioux Falls, SD 57101-2790

(605) 275-9599

Fax: (605) 275-9602

Email: mhaigh@ehhlawyers.com
LEAD ATTORNEY

ATTORNEY TO BE NOTICED

Tyler Haigh

Evans Haigh & Hinton LLP

101 North Main Avenue, Suite 213
PO Box 2790

Sioux Falls, SD 57101-2790

(605) 275-9599

Fax: (605) 275-9602

Email: thaigh@ehhlawyers.com
ATTORNEY TO BE NOTICED

represented by Cassidy M. Stalley

Lynn, Jackson, Shultz & Lebrun, PC

Ex. # of 21

https:/Aqofisid tes Comets: gc8/ 288 Bin/ DRA pt. 21769 Seto 51475 CYBLLG/2GLY Entry ID: 47467 74/28/2018
Case 5:17-cv-05042-JLV Document 144 Filed 04/04/19 Page 11 of 24 PagelD #: 1785
South Dakota District Court Version 1.1 LIVE DATABASE Page 3 of 13

909 Saint Joseph Street, Suite 800
Rapid City, SD 57701

(605) 342-2592

Fax: (605) 342-5185

Email: cstalley@lynnjackson.com
LEAD ATTORNEY

ATTORNEY TO BE NOTICED

Jeffery D. Collins

Lynn, Jackson, Shultz & Lebrun, PC
909 Saint Joseph Street, Suite 800
Rapid City, SD 57701

342-2592
Fax: 342-5185
Email: jcollins@lynnjackson.com
LEAD ATTORNEY
ATTORNEY TO BE NOTICED
Defendant
American Modern Insurance Group represented by Heather Lammers Bogard
Costello Porter Hill Heisterkamp
Bushnell & Carpenter
PO Box 290
704 St. Joseph St.
Rapid City, SD 57709
(605) 343-2410
Fax: (605) 343-4262
Email: hlammers@costelloporter.com
LEAD ATTORNEY
ATTORNEY TO BE NOTICED
Defendant
Carolyn Olson
In her official capacity
TERMINATED; 08/02/2018
Defendant
Neil Lund
In his official capacity
TERMINATED, 08/02/2018
Defendant
First American Title Insurance Co. represented by Terry G. Westergaard
Bangs, McCullen, Butler, Foye &
Simmons
PO Box 2670
Rapid City, SD 57709
343-1040

Fax: 343-1503
Ex. 8 of 21

https://eehsdihus @usie:gd9/agistrin/DRERpt 18769 SARI FIMRHOTSLEIZOLD Entry 1D: 4746772/28/2018

 
Case 5:17-cv-05042-JLV Document 144 Filed 04/04/19 Page 12 of 24 PagelD #: 1786

South Dakota District Court Version 1.1 LIVE DATABASE Page 4 of 13
Email:
twestergaard@bangsmccullen.com
LEAD ATTORNEY
ATTORNEY TO BE NOTICED

Defendant
Does 1-10
Defendant
HSBC

also known as

HSBC Mortgage Services Inc.
also known as

Beneficial Wyoming
Defendant

Smith County, TX

Defendant
Lois Mosley

Defendant
Paul Kelley, Jr.

Defendant
Sandra Copeland

Defendant

David Gilbertson

in their administrative capacities
Defendant

Craig Pfeifle

in their administrative capacities
Defendant

American Title Insurance Co.

Defendant - Estate

Paul Kelley, Sr.
Estate of Paul Kelley Sr.

 

Date Filed # | Docket Text

09/06/2017 COMPLAINT with Jury Demandfiled by Holli Lundahl, Logan Lundahl.
(Attachments: # 1 Part 2 of the Complaint, # 2 Envelope postmarked 9/2/2017)
(SRC) (Additional attachment(s) added on 9/6/2017: # 3 Exhibit 1 - Gill v.

 

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Ex. 8 of 21
https: /eohsdaus@urs.c09/agistin/DReRyet pl 7698404 HitG0G3 LE 12029 Entry ID: 4746772/28/2018

 
Case 5:17-cv-05042-JLV Document 144 Filed 04/04/19 Page 13 of 24 PagelD #: 1787
South Dakota District Court Version 1.1 LIVE DATABASE Page 5 of 13

 

Nakaruma, # 4 Exhibit 2 - Civil Case 08-cv-01990 Page 1 of the Amended
Complaint, # 5 Exhibit 3 - 08-cv-1990 Judgment, # 6 Exhibit 4 - 10-11156
Appeal from the United States District Court for the Northern District of Texas,
Dallas, # 7 Exhibit 5 - State of Idaho Order Denying Request for Approval for
Filing, # 8 Exhibit 6 - Idaho State Judiciary Supreme Court Data Repository, #9
Exhibit 7 - Box Elder County Utah Court Receipt) (SRC). (Additional
attachment(s) added on 9/6/2017: # 10 Exhibit 8 - CV-2013-23 Unita County
District Court Docket Sheet, # 11 Exhibit 9 - Sweetwater County Wyoming
Civil No. 14-659 Motion to Dismiss, # 12 Exhibit 10 - Sweetwater County
Wyoming Civil No. 14-659 Reply Memorandum, # 14 Exhibit 11 - Sweetwater
County Wyoming Civil No. 14-659 Order Dismissing, # 15 Exhibit 12 -
Nebraska Judicial Branch Case Search, # 16 Exhibit 13 - Case 08-12229-MFW
Settlement Agreement) (SRC). (Additional attachment(s) added on 9/6/2017: #
17 Exhibit 14 - Excerpts from Pleading, # 18 Exhibit 15 - Sheridan County
Nebraska Civil No. 16-45 Documents, # 19 Exhibit 16 - Sheridan County
Nebraska Civil No. 16-45 Order, # 20 Exhibit 17 - Document from Plaintiff, #
21 Exhibit 18 - Daggett County, Utah Case No. 160800004 Ruling and Order, #
22 Exhibit 19 - Utah Supreme Court Case Number 20170309 Appeal) (SRC).
(Additional attachment(s) added on 9/6/2017: # 23 Exhibit 20 - Utah Court of
Appeals Order, # 24 Exhibit 21 - Sheridan County Nebraska Court Documents,
# 25 Exhibit 22 - Kimball County Nebraska Complaint, # 26 Exhibit 23 - Letter
from Los Angeles Homeowners Aid, # 27 Exhibit 24 - Letter from Los Angeles
Homeowners Aid, # 28 Exhibit 25 - Letter from Neighborhood Housing
Services of America, # 29 Exhibit 26 - District of Utah Case Search, # 30
Exhibit 27 - Letter from First American Title Company Utah Division, #31
Exhibit 28 - Utah Bankruptcy Court Docket Sheet, # 32 Exhibit 29 - Utah
Bankruptcy Court Documents, # 33 Exhibit 30 - Utah Bankruptcy Court Docket
Sheet, # 34 Exhibit 31 - Court Document) (SRC), (Additional attachment(s)
added on 9/6/2017: # 35 Exhibit 32 - Excerpts from Document 261 in case 06-
cr-693, # 36 Exhibit 33 - District of Utah Criminal No. 06-693 & 07-272 Order
Dismissing Charges, # 37 Exhibit 34 - Letter from Nebraska Court of Appeals)
(SRC). (Entered: 09/06/2017)

 

09/06/2017

Iho

CIVIL COVER SHEET. (SRC) (Entered: 09/06/2017)

 

09/06/2017

[Ko

MOTION for Leave to Proceed in forma pauperis by Logan Lundahl. (SRC)
(Entered: 09/06/2017)

 

09/06/2017

ip

MOTION for Leave to Proceed in forma pauperis by Holli Lundahl. (SRC)
(Entered: 09/06/2017)

 

09/06/2017

In

New Case LETTER with enclosed Docket Sheet sent by Clerk's Office to Logan
Lundahl & Holli Lundahl. (SRC) (Entered: 09/06/2017)

 

12/12/2017

Im

Ninth Oral Demand and First Written Demand to grant IFP Motions of Plaintiffs
and Proceed to Litigation of this Matter by Plaintiffs Holli Lundahl, Logan
Lundahl re 3 MOTION for Leave to Proceed in forma pauperis, 4 MOTION for
Leave to Proceed in forma pauperis (Attachments: # 1 Envelope postmarked
12/9/17) (SLW) (Entered: 12/12/2017)

 

12/12/2017

 

 

Ico

 

MOTION to Electronically File Documents. Pro se party Holli Lundahl will
now receive electronic notice of unsealed documents filed in this case, but must

 

 

Ex46 of 21

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Case 5:17-cv-05042-JLV Document 144 Filed 04/04/19 Page 14 of 24 PagelID #: 1788
South Dakota District Court Version 1.1 LIVE DATABASE Page 6 of 13

wait for a Court ruling regarding e-filing, Refer to the CM/ECF User Manual
located on the court website at www.sdd.uscourts.gov for information about
accessing documents. (Attachments: # 1 Envelope postmarked 12/9/17)(SLW)
(Entered: 12/12/2017)

 

12/12/2017

ho

MOTION to Electronically File Documents. Pro se party Logan Lundahl will
now receive electronic notice of unsealed documents filed in this case, but must
wait for a Court ruling regarding e-filing. Refer to the CM/ECF User Manual
located on the court website at www.sdd.uscourts.gov for information about
accessing documents. (SLW) (Entered: 12/12/2017)

 

02/07/2018

ORDER Concerning Claim of Residency. Signed by U.S. District Judge
Lawrence L, Piersol on 2/6/2018. (ILS) (Entered: 02/07/2018)

 

02/26/2018

RESPONSE to 10 Order filed by Holli Lundahl, Logan Lundahl. (Attachments:
# 1 Proposed Sealed Exhibit 1, #2 Proposed Sealed Exhibit 2, # 3 Proposed
Sealed Exhibit 3, # 4 Proposed Sealed Exhibit 4, #5 Proposed Sealed Exhibit 5,
# 6 Exhibit 6 - New York Times Article, # 7 Proposed Sealed Exhibit 7, # 8
Proposed Sealed Exhibit 8, # 9 Proposed Sealed Exhibit 9, # 10 Proposed Sealed
Exhibit 10)(SLT) (Additional attachment(s) added on 2/26/2018: # 11 Envelope
postmarked 2/24/2018) (SLT). (Entered: 02/26/2018)

 

02/26/2018

MOTION to Seal Exhibits 1-5 and 7-10 re 11 Response to 10 Order by Holli
Lundahl, Logan Lundahl. (Attachments: # 1 Proposed Sealed Exhibits)(SLT)
(Entered: 02/26/2018)

 

02/26/2018

REQUEST for Judicial Notice of Documents Supporting re 11 Response, 10
Order by Holli Lundahl, Logan Lundahl. (Attachments: # 1 3:16-3033-RAL
Doc. 127, # 2 3:16-3033-RAL Doc. 127-3, #3 3:16-3033-RAL Doc. 127-4, #4
3:16-3033-RAL Doc. 137)(SLT) (Entered: 02/26/2018)

 

03/07/2018

SUPPLEMENT by Plaintiffs Holli Lundahl, Logan Lundahl re 11 Response,,.
(Attachments: # 1 Exhibit 1 - Photo, #2 Exhibit 2 - Photo, # 3 Exhibit 3 - Photo,
# 4 Exhibit 4 - Photo, # 5 Exhibit 5 - Photo, # 6 Exhibit 6 - Photo, #7 Exhibit 7 -
Patrons Cooperative Association Bill (Sealed), # 8 Envelope postmarked
3/6/2018) (SRC) (Attachment 7 replaced on 3/7/2018) (TAL). Modified on
3/7/2018 (TAL). (Entered: 03/07/2018)

 

08/02/2018

ORDER DISMISSING COMPLAINT IN PART AND DIRECTING SERVICE
IN PART, granting 3 Motion for Leave to Proceed in forma pauperis; granting 4
Motion for Leave to Proceed in forma pauperis; denying 8 Motion to
Electronically File Documents in CM/ECF; denying 9 Motion to Electronically
File Documents in CM/ECF; denying 12 Motion to Seal Document; denying 13
Motion for judicial notice, dismissing Michele M. Christiansen, Travis
O'Gorman, Derek Weimer, Carol Stouffer, Frankie Moore, Carolyn Olsen, Neil
Lund and Mary Corporon. Signed by U.S. District Judge Lawrence L. Piersol on
8/2/18. (DJP) (Entered: 08/02/2018)

 

08/15/2018

SECOND REQUEST to File Electronically by Holli Lundahl. (Attachments: # 1
Enveope postmarked 8-14-2018) (SLT) (Entered: 08/15/2018)

 

08/21/2018

 

 

 

Summons Issued as to American Modern Insurance Group, Lilia Chavarin, First
American Title Insurance Co., Mel Hoffman, JP Morgan Chase Bank, Los

 

Exa] of 21

https:/Aeobhsddus@usts:cb9/egistin/Dkekypt 769 Bd Ost FMRHOTB/L 6/2 O2D Entry ID: 4746772/28/2018

 
Case 5:17-cv-05042-JLV Document 144 Filed 04/04/19 Page 15 of 24 PagelD #: 1789

South Dakota District Court Version 1.1 LIVE DATABASE

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Angeles Homeowners Aid, Old Republic Insurance Co. 7 original summons, 1
Complaint, 15 Order delivered to plaintiff's USMS via email. (SLT) (Additional
attachment(s) added on 8/22/2018: # 1 Rule 73 Memo, #2 AO 85) (SLT).
Modified on 8/22/2018 to add Rule 73 Memo and AO 85. AO 85 delivered to
USMS to be attached to Summonses (SLT). (Entered: 08/21/2018)

 

08/21/2018

NOTICE of Change of Address by Holli Lundahl: P.O. Box 105, Hot Springs,
SD 57747. (SLT) (Entered: 08/21/2018)

 

08/24/2018

ORDER denying 16 Second Motion to Electronically File Documents in
CM/ECF, Signed by U.S. District Judge Lawrence L. Piersol on 8/24/18. (SLW)
(Entered: 08/24/2018)

 

08/27/2018

SUMMONS Returned Executed by Holli Lundahl. Lilia Chavarin served on
8/23/2018, answer due 9/13/2018. (SLT) (Entered: 08/27/2018)

 

08/30/2018

Summons Returned Unexecuted by Holli Lundahl, Logan Lundahl as to JP
Morgan Chase Bank. (TAL) (Entered: 08/30/2018)

 

09/10/2018

SUMMONS Returned Executed by Holli Lundahl, Logan Lundahl. American
Modern Insurance Group served on 8/23/2018, answer due 9/ 13/2018; First
American Title Insurance Co. served on 8/23/2018, answer due 9/13/2018; Old
Republic Insurance Co. served on 8/23/2018, answer due 9/13/2018. (DJP)
(Entered: 09/10/2018)

 

09/11/2018

MOTION for Extension of Time to File Answer by Lilia Chavarin. (Collins,
Jeffery) (Entered: 09/11/2018)

 

09/11/2018

NOTICE of Appearance by Jeffery D. Collins on behalf of Lilia Chavarin.
(Collins, Jeffery) (Entered: 09/11/2018)

 

09/11/2018

NOTICE of Appearance by Cassidy M. Stalley on behalf of Lilia Chavarin.
(Stalley, Cassidy) (Entered: 09/11/2018)

 

09/12/2018

ORDER granting 22 Motion for Extension of Time to Answer. Lilia Chavarin
answer due 9/28/2018. Signed by U.S. District Judge Lawrence L. Piersol on
9/12/18. (ILS) (Entered: 09/12/2018)

 

09/12/2018

AMENDED COMPLAINT, with Jury Demand filed by Holli Lundahl,
Logan Lundahl. (SLT) (Entered: 09/13/2018)

 

09/13/2018

NOTICE of Appearance by Heather Lammers Bogard on behalf of American
Modern Insurance Group. (Bogard, Heather) (Entered: 09/13/2018)

 

09/18/2018

NOTICE of Appearance by Terry G. Westergaard on behalf of First American
Title Insurance Co.. (Westergaard, Terry) (Entered: 09/18/2018)

 

09/20/2018

NOTICE of Appearance by Mark W. Haigh on behalf of Old Republic
Insurance Co.. (Haigh, Mark) (Entered: 09/20/2018)

 

09/20/2018

NOTICE of Appearance by Tyler Haigh on behalf of Old Republic Insurance
Co.. (Haigh, Tyler) (Entered: 09/20/2018)

 

09/21/2018

MOTION to DISMISS by American Modern Insurance Group. (Bogard,
Heather) (Entered: 09/21/2018)

 

 

 

 

 

Exa} of 21

https:/rohedhuscous.209/dgistin/DitRyat: pl?69 8040s Hit5003/L61204) Entry ID: 4746772/28/2018

 
09/21/2018

32

Case 5:17-cv-05042-JLV Document 144 Filed 04/04/19 Page 16 of 24 PagelD #: 1790
South Dakota District Court Version 1.1 LIVE DATABASE

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MEMORANDUM in Support re 31 MOTION to DISMISS filed by American
Modern Insurance Group. (Bogard, Heather) (Entered: 09/21/2018)

 

09/21/2018

DECLARATION of Nancy Gill re 32 Memorandum in Support of Motion, 31
MOTION to DISMISS . (Attachments: # 1 Exhibit 8/23/18 DOL
Correspondence) (Bogard, Heather) (Entered: 09/21/2018)

 

09/24/2018

MOTION to DISMISS Defendant Old Republic Insurance Co.'s Motion to
Dismiss, MOTION failure to state a claim, lack of subject matter
jurisdiction, lack of personal jurisdiction, and insufficient service of process
re | Complaint 27 Amended Complaint by Old Republic Insurance Co.
(Haigh, Tyler) Modified on 9/25/2018 to delete duplicative text (KLK).
(Entered: 09/24/2018)

 

09/24/2018

MEMORANDUM in Support re 34 MOTION to DISMISS Defendant Old
Republic Insurance Co.'s Motion to Dismiss MOTION failure to state a claim,
lack of subject matter jurisdiction, lack of personal jurisdiction, and insufficient
service of process re 1 Complaint 27 Amended Complaint filed by Old Republic
Insurance Co. (Haigh, Tyler) Modified on 9/25/2018 to remove duplicative text
(KLK). (Entered: 09/24/2018)

 

09/27/2018

MOTION to DISMISS for Lack of Jurisdiction , MOTION to DISMISS for
Failure to State a Claim by First American Title Insurance Co..
(Westergaard, Terry) (Entered: 09/27/2018)

 

09/27/2018

MEMORANDUM in Support re 36 MOTION to DISMISS for Lack of
Jurisdiction MOTION to DISMISS for Failure to State a Claim filed by First
American Title Insurance Co. (Westergaard, Terry) (Entered: 09/27/2018)

 

09/28/2018

Second MOTION for Extension of Time to File Answer re 25 Order on Motion
for Extension of Time to Answer by Lilia Chavarin. (Stalley, Cassidy) (Entered:
09/28/2018)

 

09/28/2018

ORDER granting 38 Motion for Extension of Time to Answer. Lilia Chavarin
answer due 10/5/2018. Signed by U.S. District Judge Lawrence L. Piersol on
9/28/2018. (SLT) (Entered: 09/28/2018)

 

10/01/2018

LETTER Received from Karl Van Den Berg to Clerk of Court. (Attachments: #
1 copy of summons (Melvin M. Hoffman), #2 page 9, complaint, # 3 letter to
Clerk of Nebraska Supreme Court and Nebraska Court of Appeals with
enclosures, # 4 envelope postmarked 9/26/18 & business card) (TAL) Modified
on 10/3/2018 to add postmark(KLK). (Entered: 10/02/2018)

 

10/05/2018

MOTION to DISMISS for Lack of Jurisdiction by Lilia Chavarin. (Stalley,
Cassidy) (Entered: 10/05/2018)

 

10/05/2018

MEMORANDUM in Support re 41 MOTION to DISMISS for Lack of
Jurisdiction filed.by Lilia Chavarin. (Stalley, Cassidy) (Entered: 10/05/2018)

 

10/05/2018

AFFIDAVIT in Support re 41 MOTION to DISMISS for Lack of Jurisdiction
filed by Lilia Chavarin. (Attachments: # 1 Exhibit A - Summons and Complaint)
(Stalley, Cassidy) (Entered: 10/05/2018)

 

 

10/05/2018

 

 

 

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Case 5:17-cv-05042-JLV Document 144 Filed 04/04/19 Page 17 of 24 PagelID #: 1791
South Dakota District Court Version 1.1 LIVE DATABASE Page 9 of 13

AFFIDAVIT in Support re 41 MOTION to DISMISS for Lack of Jurisdiction
filed by Lilia Chavarin. (Stalley, Cassidy) (Entered: 10/05/2018)

10/05/2018 45 | MOTION for Joinder of Defendants American Modern Insurance Group, Old
Republic Insurance Company and First American Title Companys Motions to
Dismiss by Lilia Chavarin. (Stalley, Cassidy) (Entered: 10/05/2018)

10/05/2018 46 | MOTION to Extend Deadlines by Holli Lundahl, Logan Lundahl. (Attachments:
# 1 photo, # 2 photo, # 3 photo, # 4 photo, # 5 photo) (TAL) (Entered:
10/09/2018)

10/10/2018 47 | SUPPLEMENT by Plaintiffs Holli Lundahl, Logan Lundahl re 27 Amended
Complaint. (Attachments: # 1 Gill v. Nakamura (2014 MA) RICO is nationwide,
# 2 caption page of Ist Texas case naming all parties, # 3 dismissal of Texas
case without prejudice, # 4 5th Cir. appeal dismissed without prejudice, # 5
Idaho order dismissing case against banks without prejudice, # 6 Idaho criminal
docket dismissing charges with prejudice, # 7 Utah action against attorneys
dismissed without prejudice, # 8 Wyoming case dismissed without prejudice, #
2 Corporon motion dismiss without prejudice - no personal jurisdiction, # 10 JP
Morgan motion dismiss - no jurisdiction, # 11 Order of Dismissal by Court - no
jurisdiction, # 12 Nebraska docket against Chase Bank, et al., # 13 settlement
agreement between Chase, WAMU & FDIC, # 14 Old Republic's motion
dismiss filed in NE action, # 15 Affidavit of Default/Default Judgment - FDIC,
# 16 NE order of dismissal - no jurisdiction, # 17 video on file with Court, # 18
Utah order re: dismissal Corporon - no jurisdiction, #19 Appeal to Utah
appellate court response - OSC, # 20 Utah appeals court - affirming trial order, #
21 motion to reconsider NE order re: dismissal - no jurisdiction, # 22 caption to
complaint against Texas defendants, # 23 LAHA 3 year buy back agreement, #
24 evidentiary admission by LAHA created reverse mortgage, #25 Good
Neighbor Housing's letter in response to LAHA's obstruction of day off notice, #
26 Marlene Telford's bankruptcy filing, # 27 commitment to title insurance by
First American Title, # 28 dismissal of Marlene Telford's quiet title case, # 29
order confirming Holli's Chapter 13 plan, # 30 alteration of Holli's bankruptcy
docket by court officials, # 31 order removing Holli's pro se representation, # 32
Lilia Chaverin 302 FBI report, # 33 order dismissing criminal cases voluntarily
by US prosecutor, # 34 NE appeals court dismissing Smith County case for lack
of standing, # 35 tax case on the Kelley case in Texas, # 36 recording of
Sheriff's Deed to Smith County 11-29-2010, # 37 payment of purchase price on
Texas property, # 38 email from Smith County Trustee mailed out deed, # 39
purchase of double wide manufactured Holli, # 40 application - amended for
insurance on double wide home to American Modern, # 41 tax exemption
affidavit for Texas property, # 42 Paul Kelleys residence address in Texas, # 43
aeriel of Texas property, # 44 SD AG notice of settlement HSBC, #45 HSBC
works to shell companies, # 46 HSBC offloads REO assets to Altisource, # 47
Beneficial not registered with SEC, #48 HSBC registered with SEC, # 49
electronic purchase contract Wyoming property, # 50 loan commitment on

WYO property, # 51 closing terms WYO property, # 52 demand to pay 1/2
closing fees, # 53 request for accommodation FHA, # 54 Altisource master
services agreement, # 55 notice re-post property for sale, # 56 termination
agreement by HSBC, # 57 Linked In bio on Michelle Riddell, #58 SOS SD -

 

 

 

 

 

 

 

Ex4h of 21

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Beneficial, # 59 Bankruptcy filing Beneficial, # 60 property abstract - WYO
property, # 61 POA by HSBC to Altisource, # 62 special warranty deed
Beneficial to Schultz, # 63 Linked In bio on David Schultz) (TAL) Modified on
10/11/2018 to clarify that exhibits were scanned and filed as received and it
appears there are pages missing to several exhibits (TAL). (Entered:
10/11/2018)

 

10/11/2018

ORDER granting 46 Motion to Extend Deadlines. Signed by U.S. District Judge
Lawrence L. Piersol on 10/10/18. (DJP) (Entered: 10/11/2018)

 

10/22/2018

MEMORANDUM in Opposition re 31 MOTION to DISMISS and Request for
Hearing filed by Holli Lundahl, Logan Lundahl. (Attachments: # 1 Exhibit 1 -
Dismissal) (SST) (Entered: 10/23/2018)

 

10/22/2018

DECLARATION in Opposition re 31 MOTION to DISMISS filed by Holli
Lundahl. (Attachments: # 1 Exhibit 1 - Amended Insurance Application, #2
Exhibit 2 - Excerpt from AMIG website, # 3 Exhibit 3 - Corporate Contact
Information for AMIG, # 4 Exhibit 4 - Address where AMIG was Served, #5
Exhibit 5 - AMIG Corporate Address) (SST) (Entered: 10/23/2018)

 

10/22/2018

MEMORANDUM in Opposition re 34 MOTION to DISMISS Defendant Old
Republic Insurance Co.'s Motion to Dismiss MOTION failure to state a claim,
lack of subject matter jurisdiction, lack of personal jurisdiction, and insufficient
service of process re 1 Complaint 27 Amended Complaint filed by Holli
Lundahl, Logan Lundahl. (Attachments: # 1 Exhibit 1 - Dismissal) (SST)
(Entered: 10/23/2018)

 

10/22/2018

MOTION for Extension of Time to Respond to the LAHA Defendants and First
American Title's Motions to Dismiss to October 26, 2018 when Plaintiffs
Motion to Dismiss as to the Chase Defendants is Do by Holli Lundahl, Logan
Lundahl. (SST) (Entered: 10/23/2018)

 

10/24/2018

ORDER granting 52 Motion to Extend. Plaintiffs have until 10/26/18 within
which to respond to defendants! motion to dismiss. Signed by U.S. District
Judge Lawrence L. Piersol on 10/24/18. (SLW) (Entered: 10/24/2018)

 

10/25/2018

OBJECTION by Defendant Lilia Chavarin re 47 Supplement (Stalley, Cassidy)
Modified on 10/26/2018 to delete commas (KLE). (Entered: 10/25/2018)

 

10/26/2018 —

First MOTION for Joinder to 54 Lilia Chavarin's Objection to Plaintiff's
Supplement to First Amended Complaint 47 by American Modern Insurance
Group. (Bogard, Heather) Modified on 10/29/2018 to link (KLE), (Entered:
10/26/2018)

 

10/26/2018

DECLARATION of Holli Lundahl in support of 49 Memorandum in Opposition
to Motion. (Attachments: # 1 Exhibits) (DLC) (Entered: 10/26/2018)

 

10/26/2018

OPPOSITION to 40 Letter Received from Karl Van Den Berg to Clerk of Court,
filed by Holli Lundahl, Logan Lundahl. (Attachments: # 1 Exhibits) (DLC)
(Entered: 10/26/2018)

 

10/26/2018

 

 

 

OPPOSITION to 36 MOTION to DISMISS for Lack of Jurisdiction MOTION
to DISMISS for Failure to State a Claim filed by Holli Lundahl, Logan Lundahl.
(Attachments: # 1 Exhibits) (DLC) (Entered: 10/26/2018)

 

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10/26/2018

OPPOSITION to 41 MOTION to DISMISS for Lack of Jurisdiction filed by
Holli Lundahl, Logan Lundahl. (Attachments: # 1 Exhibits) (DLC) (Entered:
10/26/2018)

 

11/01/2018

RESPONSE to 51 Memorandum in Opposition to Motion, to Old Republic
Insurance Company's Motion to Dismiss 34 filed by Old Republic Insurance Co.
(Haigh, Tyler) Modified on 11/2/2018 to link to original motion (KLE).
(Entered: 11/01/2018)

 

11/05/2018

REPLY to 31 Motion to Dismiss filed by American Modern Insurance Group.
(Bogard, Heather) (Entered: 11/05/2018)

 

11/08/2018

REPLY to 41 Motion to Dismiss/Lack of Jurisdiction filed by Lilia Chavarin.
(Stalley, Cassidy) (Entered: 11/08/2018)

 

11/08/2018

MOTION for Joinder in Lilia Chavarin's Objection to Plaintiffs' Supplement to
First Amended Complaint by First American Title Insurance Co.. (Westergaard,
Terry) (Entered: 11/08/2018)

 

11/08/2018

REPLY to Motion Response re 36 MOTION to DISMISS for Lack of
Jurisdiction MOTION to DISMISS for Failure to State a Claim filed by First
American Title Insurance Co.. (Westergaard, Terry) (Entered: 11/08/2018)

 

11/13/2018

OPPOSITION re 54 OBJECTION by Defendant Lilia Chavarin re 47
Supplement and 55 First MOTION for Joinder to 54 filed by Holli Lundahl,
Logan Lundahl. (Attachments: # 1 Exhibits) (DLC) (Entered: 11/14/2018)

 

11/19/2018

DECLARATION of Marti Telford in Support of Plaintiff Holli's Sur-Reply to
American Modern Insurance Group's Reply - Raising New Argument Not
Raised in Their Motion to Dismiss, (DLC) (Entered: 11/20/2018)

 

11/20/2018

REPLY to 60 RESPONSE to 51 Memorandum in Opposition to Motion re 34
MOTION to DISMISS and REQUEST for Sua Sponte Rule 11 Sanctions filed
by Holli Lundahl, Logan Lundahl. (Attachments: # 1 Exhibit) (SLT) (Entered:
11/20/2018)

 

11/27/2018

REPLY BRIEF in Support of 54 Objection to Plaintiffs’ Supplement to First
Amended Complaint filed by Lilia Chavarin. (Stalley, Cassidy) Modified on
11/28/2018 to add text (KLE). (Entered: 11/27/2018)

 

11/30/2018

OBJECTION by Defendant Old Republic Insurance Co. re 67 Reply to Motion
Response in re 34 Motion to Dismiss Old Republic Insurance Company's
Objection to Plaintiff's Verified Sur-Reply to Old Republic Insurance
Companies’ Reply [Doc. 60] Raising New Argument Not Raised in Their Motion
to Dismiss and Request for Sua Sponte Rule 11 Sanctions to be Issued by this
Court Against Old Republic Insurance Company by way of a Default Judgment
in Favor of Plaintiffs for Fraud Committed Upon this Court as Set Forth Herein
(Haigh, Mark) Modified on 12/4/2018 to link to original motion (KLE).
(Entered: 11/30/2018)

 

12/03/2018

 

 

 

PLAINTIFF'S VERIFIED SUR-REPLY to American Modern Insurance Group's
Reply 61 Raising new argument not raised in their motion to dismiss and
REQUEST for Sua Sponte Rule 11 sanctions to be issued by this Court against

 

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https: AenfeldstasOamts. gOvhkbGs Bin/DidRpt.pll698 O45 E4250 TLL E2019 Entry ID: 4746758/2018

 
Case 5:17-cv-05042-JLV Document 144 Filed 04/04/19 Page 20 of 24 PagelD #: 1794
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American Modern Woodman Insurance Group by way of a default judgment in
favor of Plaintiff Holli (Telord) Lundahl for fraud committed upon this Court by
American Modern Insurance Group filed by Holli Lundahl, Logan Lundahl.
(DLC) (Entered: 12/04/2018)

12/03/2018 71 | DECLARATION of Holli Lundahl supporting 70 SUR-REPLY and REQUEST.
(DLC) (Main Document 71 replaced on 12/4/2018) (SST). (Entered:
12/04/2018)

12/10/2018 72 | SUR-REPLY to 64 Reply to Motion Response and REQUEST for Sua Sponte
Rule 11 Sanctions to be issued by this Court against First American Title
Insurance Co. by way of a Default Judgment filed by Holli Lundahl, Logan
Lundahl. (Attachments: # 1 Press Release from South District of Indiana) (DLC)
(Entered: 12/10/2018)

12/14/2018 2B | EMERGENCY PETITIONS: MOTION to Seal Document, MOTION for Leave
to to File Under Seal a Complaint Plaintiff Seeks to Supplement into the Present
Action - OR - in the Alternative Open a New Action by Holli Lundahl.
(Attachments: # 1 Proposed Sealed Complaint, # 2 Part 1 of Sealed Exhibits to
Proposed Sealed Complaint, # 3 Part 2 of Sealed Exhibits to Proposed Sealed
Complaint, # 4 Proposed Sealed Emergency Motion, #5 Part 1 of Sealed
Exhibits to Proposed Sealed Emergency Motion, # 6 Part 2 of Sealed Exhibits to
Proposed Sealed Emergency Motion) (DLC) Modified on 12/18/2018 (SLT).
Modified text on 12/19/2018 (SST). (Entered: 12/17/2018)

12/18/2018 74 |SEPARATE MOTION to Supplement/Add Certain South Dakota Officials into
this Action as Identified in the Complaint Attached as Exhibit 1 to Plaintiff's
Motion to Seal Filed Concurrently Herewith, OR IN THE ALTERNATIVE,
MOTION to File the Complaint as a Severed Action so that Plaintiff can
Immediately Prosecute the Motion for Emergency Permanent Injunction
attached as Exhibit 2 to the Motion to Seal by Holli Lundahl. (Attachments: # 1
Attachments) (DLC) (Entered: 12/18/2018)

12/20/2018 77 | MOTION to Seal Document by Holli Lundahl. (Attachments: # 1 Proposed
Sealed Exhibit 1 to Third Request to Issue a Ruling re Plaintiff's Emergency
Petition filed on December 14, 2018 to File the Attached Complaint and
Permanent Injunction) (DLC) (Entered: 12/20/2018)

12/20/2018 78 | REQUEST to Issue a Ruling re Plaintiff's Emergency Petition filed on
December 14, 2018, [Doc. 73] - to File the Attached Complaint and Permanent
Injunction by Plaintiff Holli Lundahl (Attachments: # 1 Sealed Exhibit 1 (see
motion to seal at Doc. 77) (DLC) (Attachment 1 replaced on 12/21/2018 with
sealed Exhibit per Order 79 ) (SAC). Modified on 12/21/2018 (SAC). (Entered:
12/20/2018)

12/21/2018 79 | ORDER denying Plaintiffs motions to amend and/or supplement complaint 73
74 ; Plaintiff's motion to seal 73 , 74 , and 77 are granted; Plaintiff's shall have
30 days from the date of this order to file a motion to amend complaint. If
plaintiffs do not file an amended complaint, this court will proceed with its
screening of plaintiffs amended complaint at docket 27 . Signed by U.S. District
Judge Lawrence L. Piersol on 12/21/2018. (SAC) (Entered: 12/21/2018)

 

 

 

 

 

 

 

 

 

 

 

 

Exa} of 21
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12/21/2018 80 | RESPONSE to 72 Reply, filed by First American Title Insurance Co..
(Westergaard, Terry) (Entered: 12/21/2018)

 

12/26/2018 81 | Emergency Petition for Permission to File a Separate Complaint in a New Case
by Holli Lundahl. (Attachments: # 1 Exhibits A - D) (SST) Modified text on
12/27/2018 (SST). (Entered: 12/26/2018)

12/26/2018 82 | SUPPLEMENT by Plaintiff Holli Lundahl re 81 Emergency Petition for
Permission to File A Separate Complaint. (Attachments: # 1 Exhibit E -
Attachments 1-10) (SST) (Entered: 12/26/2018)

12/26/2018 83 | SUPPLEMENT by Plaintiff Holli Lundahl re 81 Emergency Petition for
Permission to File A Separate Complaint, 82 Supplement - Exhibit E -
Attachments 1-10, (Attachments: # 1 Exhibit E - Attachments 11 - 15) (SST)
(Entered: 12/26/2018)

 

 

 

12/26/2018 84 | Emergency Requests to address 81 Emergency Petition for Permission to File A
Separate Complaint, for Court to take Judicial Notice Plaintiff has Paid the
Filing Fee, for Immediate Order to File Complaint Against South Dakota
Officials, for Order Directing Clerk to Issue Three Summonses, for Order
Directing Marshal to Serve Defendants by Holli Lundahl. (SST) (Entered:
12/26/2018)

12/27/2018 85 | ORDER granting 81 Emergency Petition for Permission to File a Separate
Complaint in a New Case, denying 84 Emergency Petition for Permission to File
a Separate Complaint, for Court to take Judicial Notice Plaintiff has Paid the
Filing Fee, for Immediate Order to File Complaint Against South Dakota
Officials, for Order Directing Clerk to Issue Three Summonses, for Order
Directing Marshal to Serve Defendants. Signed by U.S. District Judge Lawrence
L. Piersol on 12/27/18. (SST) Modified text on 12/27/2018 (SST). (Entered:
12/27/2018)

 

 

 

 

 

 

 

PACER Service Center
Transaction Receipt
12/28/2018 12:32:59

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Case 5:17-cv-05042-JLV Document 144 Filed 04/04/19 Page 22 of 24 PagelD #: 1796

Greg Bernard

From: ecfheip@sdd.uscourts.gov

Sent: Thursday, December 20, 2018 4:58 PM

To: ecfhelp@sdd.uscourts.gov

Subject: Notice of Appeal filed in 5:17-cv-05042-JLV Telford v. Bradeen et al

This is an automatic e-mail message generated by the CM/ECF system, Please DO NOT RESPOND to this e-mail
because the mail box is unattended,

***NOTE TO PUBLIC ACCESS USERS*** Judicial Conference of the United States policy permits attorneys of record and
parties in a case (including pro se litigants) to recelve one free electronic copy of all documents filed electronically, If
receipt is required by law or directed by the filer. PACER access fees apply to all other users. To avoid later charges,
download a copy of each document during this first viewing. However, if the referenced document fs a transcrlIpt, the
free copy and 30 page limit do not apply.

U.S, District Court
District of South Dakota
Notice of Electronic Filing

The following transaction was entered on 12/20/2018 at 5:57 PM CST and filed on 12/20/2018

Case Name: Telford v. Bradeen et al
Case Number: 5:17-cv-05042-JLV
Filer: Holli Telford

WARNING: CASE CLOSED on 08/29/2018
Document Number: 134

Docket Text:

NOTICE OF APPEAL as to [40] Order on Motion to Extend, [67] Order on Motion to Stay, [13]
Order on Motion for Reconsideration, [53] Order for Discovery Report, [28] Order on Motion to
Extend, [91] Order on Motion to Extend, [10] Order on Motion for Miscellaneous Relief, [46]
Order on Motion to Amend/Correct, [133] Order on Motion to Extend, [8] Order on Motion for
Leave to Proceed in forma pauperis, [31] Order on Motion to Extend, [82] Order Requiring
Compliance with Redaction Requirement, [52] Judgment, [36] Order, [120] Order on Motion to
Alter Judgment, Order on Motion to Amend/Correct, Order on Motion to Dismiss Party, Order
on Motion for Joinder, Order on Motion for Summary Judgment, Order on Motion for
Miscellaneous Relief, Order on Motion to Strike, Order on Motion to Continue, [26] Order on
Motion to Extend, [51] Order on Motion for Partial Summary Judgment, Order on Motion for
Judgment on the Pleadings, Order on Motion for Hearing, Order on Motion for Miscellaneous
Relief, Order on Motion to Dismiss, [121] Judgment by Holli Telford (Clerk’s Notice: The
attached document was received by the clerk's office on December 20, 2018. The submitted
document contains a stamp dated December 10, 2018. The clerk's office has no record of this
document being filed on December 10, 2018. The physical version of this document will be
retained by the clerk's office in Rapid City.). (TAL)

5:17-cv-05042-JLV Notice has been electronically mailed to:

Ex.2 49 of 21
Appellate Case: 19-1037 Page:1 Date Filed: 01/16/2019 Entry ID: 4746771

 
Case 5:17-cv-05042-JLV Document 144 Filed 04/04/19 Page 23 of 24 PagelD #: 1797

Michael L. Luce mluce@lynnjackson.com, mschmitt@lynnjackson.com

Gregory J, Bernard gbernard@tb3law.com, Lbowman@tb3law.com, Lhodgin@th3law.com, abelitz@tb3law.com
Gregory J.Erlandson gerlandson@bangsmccullen.com, cronfeldt@bangsmccullen.com

Gregory H. Wheeler ghwheeler@boycelaw.com, akmcdowell@boycelaw.com

Mitchell W, O'Hara mwohara@boycelaw.com, oharam2015@gmail.com, tajohnson@boycelaw.com

Holli Telford hollietelford.1@gmail.com, brenda.burton.99999@gmail.com

5:17-cv-05042-JLV This document must be sent in hard copy to:

The following document(s) are associated with this transaction:

Document description:Main Document

Original filename:n/a

Electronic document Stamp:

[STAMP dcecfStamp_!D=1034884494 [Date=12/20/2018} [FileNumber=2786337-
0] (0c6451c052ac237fd94a3589402e06425d9ea963e9e8f65a686a44b7 b2dd7 2ccdf
c8ced012719d654039914e69ef6e97bS bSdf153c6b1277f0d7 30a6b797e0d9c]]

Ex. 2

Appellate Case: 19-1037 Page: 2 Date Filed: 01/16/2019 Entry ID: 4746771

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Case 5:17-cv-05042-JLV Document 134 Filed 12/20/18 Page 1 of 1 PagelD #: 1752

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UNITED STATES DISTRICT COURT SOUTH DAKOTA
WESTERN DIVISION, RAPID CITY DIVISION

Holli Telford ) CIV. 17-5042-JLV

) NOTICE OF APPEAL
Plaintiff +
)
Vv.

RonA. Bradeen, Bradeen )

Real Estate, Jeff Storm, Jim Bultsma

Jim Ashmore, Southern Hills Title )

Company, Morningside Properties LLP;
Heartland Real Estate; Verylis R. Boyd, )
and Warner C. Boyd.

Defendants )

 

COME NOW Plaintiff to appeal all orders made in the underlying case and
especially the order to recuse Judge Viken from sitting on this case or any other case
naming Plaintiff and to vacate all orders entered by Judge Viken based on pervasive
personal bias and Misprisions of felony acts committed by the respective defendants
and their attorneys in this case and the Boardwalk case no. 17-cv.5088 and which

were coved up b Judge Viken.
/ vd

    

 

Certificate of Service
The defendants have been served via the court's ECF filing system

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Ex. 3
Appellate Case: 19-1037 Page:1 Date Filed: 01/16/2019 Entry ID: 4746771
